




&lt;partyblock&gt; 

&lt;br&gt;&lt;br&gt;&lt;div align="center"&gt;&lt;b&gt;&lt;font size="+1"&gt;TAM Medical Supply Corp., as Assignee of Bah, Ousmane, Respondent, &nbsp;

&lt;br&gt;&lt;br&gt;against&lt;br&gt;&lt;br&gt;MVAIC, Appellant. 

&lt;/font&gt;&lt;/b&gt;&lt;/div&gt;&lt;br&gt;&lt;br&gt; 

 

 

&lt;p&gt; 

Marshall &amp;amp; Marshall, PLLC (Naim M. Peress, Esq.), for appellant. 

The Rybak Firm, PLLC (Damin J. Toell, Esq.), for respondent. 

&lt;/p&gt; 

&lt;p&gt;Appeal from an order of the Civil Court of the City of New York, Kings County (Carol Ruth Feinman, J.), entered February 17, 2015. The order granted plaintiff's motion for summary judgment and denied defendant's cross motion for summary judgment dismissing the complaint.&lt;/p&gt; 

 

 

 

 

&lt;p&gt;ORDERED that the order is reversed, with $30 costs, plaintiff's motion for summary judgment is denied and defendant's cross motion for summary judgment dismissing the complaint is granted.&lt;/p&gt; 

&lt;p&gt;In this action by a provider to recover assigned first-party no-fault benefits, defendant Motor Vehicle Accident Indemnification Corporation (sued herein as MVAIC) appeals from an order of the Civil Court which granted plaintiff's motion for summary judgment and denied defendant's cross motion for summary judgment dismissing the complaint.&lt;/p&gt; 

&lt;p&gt;"The filing of a timely affidavit providing the MVAIC with notice of intention to file a claim is &nbsp;a condition precedent to the right to apply for payment from [MVAIC]'. Compliance with the statutory requirement of timely filing a notice of claim must be established in order to demonstrate that the claimant is a &nbsp;covered person,' within the meaning of the statute, entitled to recover no-fault benefits from the MVAIC" (&lt;a href="../2016/2016_51535.htm" target="_blank"&gt;&lt;i&gt;Avicenna Med. Arts, P.L.L.C. v MVAIC&lt;/i&gt;, 53 Misc 3d 142&lt;/a&gt;[A], 2016 NY Slip Op 51535[U], *1 [App Term, 2d Dept, 2d, 11th &amp;amp; 13th Jud Dists 2016] [citations omitted]; &lt;i&gt;see&lt;/i&gt; Insurance Law &nbsp;5208 [a] [1], [3]; 5221 [b] [2]). Defendant established &lt;font color="FF0000"&gt;[*2]&lt;/font&gt;that it had not received such an affidavit.&lt;/p&gt; 

&lt;p&gt;Accordingly, the order is reversed, plaintiff's motion for summary judgment is denied and defendant's cross motion for summary judgment dismissing the complaint is granted.&lt;/p&gt; 

&lt;p&gt;PESCE, P.J., ALIOTTA and SOLOMON, JJ., concur.&lt;/p&gt; 

&lt;br&gt;ENTER: 

&lt;br&gt;Paul Kenny 

&lt;br&gt;Chief Clerk 

&lt;br&gt;Decision Date: December 19, 2017 

 

 

&lt;br&gt;&lt;br&gt;&lt;div align="center"&gt; 

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&lt;input type="submit" value="Return to Decision List"&gt; 

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&lt;/div&gt; 

 

 

&lt;/partyblock&gt;


